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Attendants has not been issued a driver's license. Diversied          Credit Systems, Assignee of the

Association of Professional Flight Attendants has not been issued a social security number.

         4.        Defendant Robert (Bob) Ross, an Individual who is a nonresident of Texas, may

be served with process at his home at the following address:           4701 Hayloft Court, E1 Dorado

Hills, CA 95762. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                      JURISDICTION AND VENUE
         5.        The subject matter in controversy is within the jurisdictional limits ofthis court.

         6.        Plaintiff seeks:

                   a.      only monetary relief of $10,000.00 or less, excluding interest, and attorney

fees and costs.

         7.       This court has jurisdiction over Defendant Robert (Bob) Ross, because said

Defendant at the time he purposefully availed himself of the privilege of conducting activities in

the state     of Texas was a Texas Resident and resided in Tan'ant County, Texas,            Defendant

executed the attached Transition Agreement (hereinafter referred to as the "contractual

Agreement" or "Agreement") with the Board of Directors for the "Association of Professional

Flight Attendants", who thereafter assigned the contractual Agreement to Plaintiff to collect

certain sums due and owing pursuant to the Agreement.

         8.       Plaintiff would also show that the cause of action arose      'om    or relates to the

contacts      of Defendant Robert (Bob) Ross      to the state   of Texas, thereby conferring   specic

jurisdiction with respect to said Defendant.

         9.       Plaintiff would further show that the Agreement was to be performed in Tarrant

Texas.



                                               Page 2 ofS

 EXHIBIT C                                                                            APPENDIX 25
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         10.       Venue in Tarrant County is permissive in this cause under Section 15.002(a)(3) of

the Texas      Civil Practice   and Remedies Code because this county was the principal residence        of

Robert (Bob) Ross, Defendant at the time he signed the Agreement.                    Defendant resided in

Southlake, Tarrant County, Texas at the time he executed the Agreement, and therefore, Venue is

property in Justice of the Peace, Precinct 3, Tarrant County, Texas.

                                       FACTUAL ALLEGATIONS
         11.       0n or about March     1, 201 8, the Association   of Professional Flight Attendants

(hereafter referred to as        "AFPA")   entered into a written contract with Robert (Bob) Ross,

providing that Defendant would receive certain funds listed in the contract.               A   copy of the

contract is attached as Exhibit "A" and incorporated by reference and for all purposes.

        12.        The Contract has been assigned to the Plaintiff, Diversied       Credit Systems, for all

purposes by Assignor       AFPA,     but primarily for the purpose     of collection of the amounts owed

Plaintiff.

                                       BREACH 0F CONTRACT
        13.        Plaintiff incorporates by reference the allegations set forth above as      if the same
were fully set forth herein.

        14.        Plaintiffs Assignor, APFA has met all of its obligations under the Transition

Agreement (Contract) and all sums due Defendant were fully paid and accepted by Defendant.

        15.        All contractual obligations of the Association of Professional Flight Attendants
have been illy      performed.

        16.       Defendant has failed to perform his contractual obligations, specically,               an

accounting was performed by the Certied          Public Accounting rm       of Wood, Stephens & O'Neil.

A copy of that rms       audit showed that Defendant had been paid in excess of the sums due him




                                                Page 3 of5

EXHIBIT C                                                                               APPENDIX 26
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under'the Agreement in the sum     of $5,436.47. The rms    Audit report is attached as Exhibit "B"

and attached for all purposes.

        17.     The APFA made demand on Defendant's to reimburse Plainti‘                   for the

overpayments.    A copy of the accounting   and Memorandum 'om        the accountant is attached as

Exhibit "B" and incorporated for all puxposes herein.          Defendant has been provided the

accounting and the Accounting nns      report, but Defendant has failed to reimburse   APFA for the

overpayments.

        18.   Documentation and demand has been provided Defendant on multiple occasions,

including om    APFA, Assignee, Diversied     Credit Systems and the undersigned Attorney.

                                           DAMAGES
        l9.     Plaintiff has sustained damages within the Comt's jurisdictional limits of this

Court, and as a result of the actions and/or omissions of Defendant described hereinabove,

including, but not limited to:

                Actual or economic damages for $5,436.47.

                                 OTHER RELEF REQUESTED
                                      ATTORNEY'S FEES
       20.      Request is made for all costs and reasonable and necessary attorney's fees

incurred by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal

ofthis cause to a County Court at Law, Court of Appeals and the Supreme Court of Texas, as the

Court deems equitable and just, as provided by Chapter 38 of the Texas Civil Practice and

Remedies Code.

                                 ALTERNATIVE ALLEGATIONS
       21.      Pursuant to Rules 47 and 48, Texas Rules of      Civil Procedure   and the rules   of



                                            Page 4 of 5

EXHIBIT C                                                                        APPENDIX 27
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pleadings, allegations in this petition are made in the alternative.




                                              PRAYER
         WHEREFORE, PREMISES CONSIDERED,                      Plaintiff, Diversied      Credit Systems,

Assignee of the Association of Professional Flight Attendants, respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a nal               hearing of the cause,

judgment be entered for the Plaintiff against Defendant for damages requested hereinabove in an

amount within the jurisdictional limits   of the Court, together with prejudgment and postjudgment

interest at the maximum rate allowed by law, attorney's fees, costs         of court, and such other and

irther   relief to which the Plaintiff may be entitled at law or in equity, Whether pled or unpled.


                                               Respectllly   submitted,

                                               /S’/                    R.
                                               Michael R. Rake, Attorney at Law, PLLC
                                               State Bar # 16487600
                                               P.O. Box 1556, Lake Dallas, TX 75065
                                               Tel. & Fax: 940-498-2103
                                               E-mail: mrake1@mrakeattorney.com

                                               Attorney for:
                                               Diversied     Credit Systems, Assignee of the
                                               Association of Professional Flight Attendants




                                             Page 5 of5

EXHIBIT C                                                                            APPENDIX 28
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                                    TRANSITION AGREEMENT
       This TRANSITION AGREEMENT (here
                                          inafter referred to as the "Agreement“) is
 entered into between President ROBERT ROSS
                                             (hereinafter referred to as "ROSS"), and
 the ASSOCIATION OF PROFESSIONAL FLIG
                                         HT      A'ITENDANTS. through its Voting Board
 of Directors and on behalf of
                               any and all of its ofcers, directors, employees.
                                                                                agents,
 members, and attorneys, in their ofcial       and individual capacities,
                                                                             together with their
 successors both jointly and severally (here
                                             inafter collectively and individually referred to as
 “APFA”).
           WHEREAS, President ROSS and APFA. through            its Voting Board of Directors, find it
mutually benecial      and in the best interests of the
                                                        membership to enter into this Transition
Agreement; and
       WHEREAS, President ROSS has previously announced his intention
                                                                      not to seek re-
election for APFA President, and as such the
                                             parti have    es          agreed on the terms of this
Agreement.
       NOW THEREFORE, ln consideration of the mutu
                                                              al covenants contained in this
Agreement,   Presi dent ROSS and APFA (hereinafte
                                                    r collectively referred to as "the Parties"),
intending to be legally bound. do hereby
                                         stipulate and agree as follows:
       1.       ROSS hereby voluntarily and irrevocably
                                                        resigns from his position as the
                National President of APFA effective at the
                                                              close of the 2018 APFA
                 Convention, and agrees to announce his resig
                                                               nation by the close as well.
      2.         ROSS will have access through the close of business on
                                                                          March 9, 2018 to his
                APFA ofce, les, and computer to naiiz'e his affairs.
                                                                            Starting upon the
                announcement of the resignation, all
                                                     emails, telephonic calls, correspondence
                and affairs regarding or directed to the APFA
                                                                  National President shall be
                immediately routed to the successor APFA National President.
      3.       APFA agrees that ROSS         will continue to receive from   APFA his    current full
               salary and benets,  Including full insurance coverage. throu
                                                                            gh July 31, 201 8.
     4.       APFA    agrees to pay ROSS all of his accrued and unused sick and accru
                                                                                           ed
              and unused vacation time, from
                                             April 1, 2016 through July 31, 2018.
     5.       APFA agrees to pay Ross, upon his reque a one—time
                                                        st,           lump sum in the total
              amount of ten thousand dollars
                                                ($1 0,000.00), which represents ROSS’s
              moving expenses. ROSS shall present the movi
                                                                ng expenses to APFA for

   Page 1 of4                           '-



                                                  EXHIBIT
                                        .
                                                                             March 1.   201810
                                                                   I




EXHIBIT C                                         I13”                              APPENDIX 29
 Case 4:22-cv-00343-Y Document 36-8 Filed 08/23/22                   Page 6 of 50 PageID 848



                 payment through 201 9.
         6.      APFA and ROSS        will each prepare a communication
                                                                        regarding          ROSS's
                 resignation.   APFA shall disseminate said    communications simultaneously
                 upon the anno unce ment of the resignation. Each statement shall be
                                                                                       mutually
                agreed upon by both Parties prior to its distribution. Furth
                                                                             er, the Parties will
                mutually agree  on talking points that shall be used for responses to
                                                                                       inquiries
                from APFA members. the press and the
                                                ,        general public for use, beginning with
                the announcement.
     7.         The Parties agree that the existence, terms, and content
                                                                            ofthis Agreement are
                completely condential.    ROSS agrees not to disclose the existence, term
                                                                                              s, or
                content of this Agreement to any third
                                                        party, except to his spouse, accountant.
               nancial     advisers, or attorney. APFA agrees not to disclose the
                                                                                         existence,
                terms, or content of this Agreement, except to the
                                                                               signatories to this
                Agreement,   and  to any APFA ofcers, empl
                                                                oyees, accountants or attorneys
                who have an explicit need to know of this
                                                            Agreement in' order to eectuate its
                terms. The Parties shall be respo
                                                       nsible for ensuring in writing" that the
                condentiality provisions of this Agreement are
                                                                  fully eXplained and adhered to
                by anyone to whom permitted disclosures are made
                                                                                 pursuant to this
                paragraph. The Parties agree that they will respond to all
                                                                               inquiries regarding
               Ross’ transition with APFA in accordance with the comm
                                                                           unications and talking
               points prepared pursuant to numbered paragraph 6 of this
                                                                              Agreement.
    8.         ROSS agrees not to make, orally or in writin
                                                                 g, any statements disparaging
               APFA and/or the Board of Directors, whether or not such state
                                                                                    ments legally
               constitute libel or slander, and whether such
                                                                   statements are made to the
              media, to other individuals, or othenlvise. Likewise, APFA's Boar
                                                                                   d of Directors,
              and its ofcers, employees and
                                                  agents who are aware of this Agreement
              pursuant to the condentiality provisions oi numbered
                                                                            paragraph 7 of this
              Agreement, agree not to make, orally or in writing, any statements
                                                                                      disparaging
              ROSS or his immediate family, whether or not such
                                                                             statements legally
              constitute libel or slander, and whether such state
                                                                        ments are made to the
              media, to other individuals, or otherwise.




 Pagez on                                                                  March 1,201s:1.o


EXHIBIT C                                                                         APPENDIX 30
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      9.        The current APFA National Vice-President will be included         in all   discussions
                with the   APFA Board of Directors regarding the lling    of the APFA National
                Vice-President position.
      10.       The Parties and signatories to this Agreement have
                                                                   carefully read and
                understand this Agreement and acknowledge that no
                                                                   party has made any
                representations other than those contained herein.
      11.       The Parties agree that this Agreement constitutes their     nal      and complete
                understanding with respect to the subject matter hereof and supersedes all
                prior or contemporaneous negotiations, promises,
                                                                             agreements or
                representations concerning any matters directly. Indirectly, or
                                                                                    collaterally
                related to the subject matter of this Agreement. This
                                                                          Agreement may be
                executed in counterparts, each of which shall constitute an
                                                                            original, and all of
               which together shall constitute one and the same
                                                                  Agreement. Electronic and
               facsimile copies shall constitute originals for all
                                                                         purposes, including
               enforcement.
     12.       The Parties agree thatthis Agreement cannot be amended or modied
                                                                                              except
               by express written consent of the Parties hereto.
     “l3.      The Parties agree to submit any and all disput
                                                                 es   regarding the validity or
               enforcement of this Agreement to a mutually chosen arbitrator whose
                                                                                       decision
               shall be binding on both Parties. The expenses of the arbitrator shall
                                                                                      be borne
               by APFA  . Venue  shall be by agreement of the parties.
    14.     if any provision,  or any part thereof, in this Agreement is found to be
                                                                                     invalid,
               such determination shall not affect the validity of
                                                                   any other               or
                                                                                  provision(s)
               part(s) of this Agreement.
    15.     The terms and conditions of this Agreement shall be
                                                                binding upon the Parties’
            successors and assigns.

    lN WlTNESS WH EREOF,           APFA and President ROSS have executed this agreement




                                                 __szl_z,LLe____
                                                 Date


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EXHIBIT C                                                                         APPENDIX 31
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      BY APF ‘                       ITS VOTING BOARD OF DIRECTORS):


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     A yM'e
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                                                       Date


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            ZKcki-
     Wanda Sarna                                      Date
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     ’abert Valenta- ICA—AA                           Date
      1     mew/{x
     J hn Penna]        DCA-US                        Date
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                        mm
     Maureen Walsh Martin -DFW
                                                              an            Kg
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     John   ikides—LAX         .—-
                                                      Date

                                                             ’b 1/              g   / 8’
      aymond
               Lw                                     Date




 'Kim Kaswinkel—         PHL                         Date
                                          h




               .               er                             5i   1   1   IQ
 Mischa! Babi      —-
                        PHX.                         Date




Matt Faust H STL                                     Date




       Page 4 of 4
                                                                                    March 1, 2018:1.0


     EXHIBIT C                                                                            APPENDIX 32
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  WOOd , Stephens &                                      6300 Ridglea Place, Suite 318
                                                         Fort Worth, TX 76116
  O’Neil, L.L.P.                                         Tele. 817-377-1700
  Certified Public Accountants                           Fax 317-377-1870




                            CONFIDENTIAL MEMORANDUM
 MEMO T0:                APFA Board of Directors and the Executive Committee
 FROM:                  Hal O’Neil, CPA, Pam Bush
 SUBJECT:               Review of officer disbursements and the Bob Ross transit
                                                                                 ion agreement
 DATE:                  October 22, 2020


     The current APFA ofcers. in consultation with the APFA staff
                                                                  attorney and outside counsel,
 requested that our rm review specic former ofcer expen
                                                               se reimbursements and payroll
 disbursements, as weil as the payments arising from the Bob Ross
                                                                          confidential transition
 agreement. This informal engagement is substantially less in        than an audit engagement,
 the objective of which would be the
                                                              scope
                                          expression of an opinion regarding these specic
 disbursements. Accordingly, we do not
                                        express an opinion or any form of assurance regarding
 these disbursements. Our task under this informal
                                                   engagement, was as follows:
 1.   To review the backup for the former ofcers’
                                                  salary disbursement amounts from 2016 - 201 8
      and to determine these base salaries were calculated
                                                             correctly and in compliance with the
      guidelines and pay rates stipulated in the APFA policy manual. Please see the
      schedule A for each ofcer.                                                        enclosed

2. To prepare an overpayment schedule of the accrued and
                                                                unused sick, and accrued and
   unused vacation time payments made to Bob Ross in 201
                                                                  8, similar to the overpayment
   schedules we prepared previously for the other three ofcers.
                                                                       Please see the enclosed
   schedules B and C for each officer. These
                                                overpayment schedules for the other ofcers
   were previously provided to the Board of Directors. Please note
                                                                       the Bob Ross condential
   transition agreement states that he will be      all of his
                                               paid            accrue   d and unused sick, and
   accrued and unused vacation time. This                doesn 't
                                             agreement             specify that the payments be
   made in accordance with the policy manual
                                                  guidelines. Consequently. these payments
   appear appropriate and in compliance with the transition agreem
                                                                      ent. This agreement also
   species reimbursement payments to him of up to $10,000 in actual
                                                                          moving expenses. His
   moving expense reimbursement payments did not exceed this amount.

3. To assist the APFA accounting
                                 department staff in reviewing and organizing the various
   requested documents, as set forth in the ight    attendants Chinery and Lee nancial
   document request.

    Please contact us should the Board of Directors or the Executive Comm
                                                                          ittee have questions
regarding our limited engagement.

                                                    Sincerely,

                                                   ‘Haz ON’eiz, CPA


EXHIBIT C                                                                       APPENDIX 33
Case 4:22-cv-00343-Y Document 36-8 Filed 08/23/22                                                                         Page 10 of 50 PageID 852




                                                              C

         National Ofcer:              Bob Russ


                                                           Annual
                                                            salary
                                                                             Dailvamnun:       M                          Payment
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         [sick thy-2017
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                  Conedmlculaon        amount        S      101.03156               276.80                   17   .1          45705.50
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                                                                                                                  ‘             63342           3      533.42
                                  |


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                                          dag per agreement}
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                                                     Totaloverpavment-dueto APFA                                                                $   5,433.47




EXHIBIT C                                                                                                                                              APPENDIX 34
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In the Matter of Arbitration Between__
                                         )
Melissa Chinery                          )
Sandra Lee                               )     RE: Article VII Charges
                                         )     Violations of APFA Constitution
      APFA Charging Party Members        )     and APFA Policy Manual
           (Plaintiff)                   )
                                         )
And                                      )
                                         )
Robert Ross, Former APFA National        )
President                                )
                                         )
      APFA Charged Party Member          )
           (Defendant)                   )
                                         )
__________________________________

Before:                                  Alternate Article VII Arbitrator Ruben R.
                                         Armendariz



Place and Dates of Hearing:              The Westin Irving Convention Center at Las
                                         Colinas, 400 West Las Colinas Boulevard,
                                         located in the City of Irving, Texas.

                                         June 16, 2021, continued to November 17 and 18,
                                         2021

Appearances:

      For Charging Party Members:        Melissa Chinery, Representative
            (Plaintiff’s)                Sandra Lee, Representative


      For Charged Party Member:          Kit Gomez Alba, Esq.
            (Defendant)                  Gina Guidry, Representative
                                         Robert Ross, Representative




EXHIBIT D                                                              APPENDIX 35
    Case 4:22-cv-00343-Y Document 36-8 Filed 08/23/22                         Page 12 of 50 PageID 854



                                              INTRODUCTION

        This is an Article VII Hearing that was heard at the Westin Irving Convention Center at
Las Colinas, Irving, Texas on June 16, 2021 and continued to November 17 and 18, 2021. The
arbitration hearing was transcribed by Carson Reporting & Associates.

        Charging Party Melissa Chinery and Sandra Lee, will be hereinafter referred to as the
“Plaintiff.” Charged Party Robert Ross, will be hereinafter referred to as the “Defendant.”

       Plaintiff presented for testimony Cathy Lukensmeyer, Erik Harris, Michael Trapp, John
Nikides and Melissa Chinery.

         Defendant presented for testimony Casey Veloso, Anthony Thuriault and Robert Ross.

        All of these witnesses were afforded full opportunity to be heard, to be examined, and to
be cross-examined. The parties were allowed to introduce evidence on the issues. Based on the
entire record, my observation of the witnesses, examination of the evidence, exhibits presented,
post-hearing briefs1 submitted, and arguments presented therein, this arbitrator makes the
following findings and renders the following Discussion, Opinion, and Award.

                                                 THE ISSUES

        Plaintiff submits the issue to be addressed by the Alternate Article VII Arbitrator is stated
as follows:

         Did Bob Ross, the Defendent herein violate the APFA Policy Manual and the
         APFA Constitution by engaging in malfeasance, fraud, misappropriation of funds
         while he was in office during the term of April 1, 2016 to March 2, 2018. If so,
         what shall be the appropriate remedy?

    Defendant submits the issue to be addressed by the Alternate Article VII Arbitrator is stated as
follows:

         Whether the Plaintiff’s allegations raised against him are true or false? Did former
         National President Ross knowingly or “willfully” violate any express Article of the
         APFA Constitution or Policy Manual? If so, what is the appropriate remedy?

                                                     FACTS

       The facts in this matter center on Defendant Ross assuming office as the APFA National
President and moving to Dallas, TX during the months of April 2016 through October 2016.



1
 The parties agreed to submit post-hearing briefs by e-mail to arbruben@gmail.com on January 31, 2021 and extended
to February 18, 2021. The post-hearing briefs were timely emailed and received. Thus, the arbitrator finds the record
in this matter closed on February 18, 2021.


                                                         2
EXHIBIT D                                                                                     APPENDIX 36
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Defendant Ross is alleged to have misused the APFA credit card on several matters during his
term in office.

       Plaintiff alleged in the Article VII grievance and heard are described as follows:

       Defendant is charged with eight (8) specific violations of the Policy Manual and the APFA
Constitution.

   (1) Misuse of Credit Card:

       As APFA National President, Plaintiff Ross was provided an APFA credit card.
          a. Defendant Ross spent thousands on purchasing sheets, blankets, pillows,
             mattresses, furniture as well as smaller items such as toilet paper and candy.
          b. Defendant Ross purchased over $3600 in furniture on his APFA credit card and had
             it delivered to his personal residence in South Lake, Texas.
          c. Defendant Ross charged an APFA rental truck in August 2016.

   (2) Rental Car:
       Defendant Ross is charged with billing APFA for a rental car for six months at a cost of
       over $6200.00 Ross was considered living in the DFW area and was not entitled to a
       rental car.
   (3) Reimbursement:
       Defendant Ross claimed mileage that he was not entitled to, including the period when he
       had a rental car.
   (4) SAF/MEA and meal expenses--Change of formula to include Meal Expense
       Allowance (MEA) and Special Assignment Fee (SAF):
       Defendant Ross and his fellow officers changed the longstanding formula for Vacation
       reimbursement. Defendant Ross also violated the detailed language of the APFA expense
       policy by charging thousands of dollars of unauthorized meals to his APFA credit card.
   (5) Payout of Vacation-Change of Formula to include MEA and SAF and an office stipend
       in with wages when considering the reimbursement of sick and vacation time. This was
       discovered when the pay for the Vice President, Secretary and Treasurer was looked at
       more closely by the next administration long after the Ross Administration had left office.
   (6) Maintaining an Office:
       Defendant Ross claimed thousands for maintaining an office he was not entitled to.
   (7) Payout of Vacation Days:
       Defendant Ross received compensation for expense payments beyond his term in office.
   (8) Buyout: Defendant Ross collected compensation in two forms. (1) MEA and SAF (2)
       Maintaining an office outside Residence.

        Defendant argued at the hearing that these Article VII charges were filed by the Charging
Party (Plaintiff) as a weapon against Ross and the Officers of the Ross Administration.

       This matter was submitted to this Alternate Article VII Arbitrator to make a decision on
the charges cited herein.



                                                3
EXHIBIT D                                                                      APPENDIX 37
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     THE RELEVANT PORTIONS OF THE APFA CONSTITUTION AND POLICY
                              MANUAL

THE APFA CONSTITUTION

Article I. Section 7. DEFINITIONS:

As used in this Constitution, the following words or terms shall mean:

       E.      "Duty" means an obligation of performance, care or observance
               which rests upon a person in any position or fiduciary capacity with
               or as a member of the APFA.
       M.      "Privilege" means a benefit or advantage enjoyed by a person in
               any position or fiduciary capacity with or as a member of the APFA.
       O.      "Responsibility" means an obligation to answer for a duty to act or a
               failure to act by a person in any position or fiduciary capacity with or as
              a member of the APFA.
       Q      "Rights" means those powers and/or privileges inherent to a person
              in any position or fiduciary capacity with or as a member of the
              APFA.

Article II. Section 2. OBLIGATIONS OF MEMBERS:

   Members of the Association do accept and agree to abide by this Constitution
   of the APFA as it is in force or as it may be altered, added to, deleted from, or
   amended in accordance with the provisions of this Constitution. Ignorance of
   this Constitution will not be considered a proper excuse for any violation of the
   provisions contained herein. Inherent in the rights, privileges, duties, and
   responsibilities of membership in the APFA is the obligation to responsibly
   exercise these rights, privileges, duties, and responsibilities.

   Section 3. BILL OF RIGHTS OF MEMBERS

       B.      All members of the APFA shall have access to all administrative and
               financial reports and records except as provided in Section 5.B(1) of
               this Article II.

Article III, GOVERNMENT OF THE APFA
Section 3 Board of Directors
       A. The Board of Directors is authorized and empowered to take any and all
            lawful action consistent with this Constitution to safeguard and protect
            the APFA, and the rights and privileges, duties and responsibilities of
            the officers, representatives and members of the APFA. The Board of
            Directors is authorized to interpret this constitution and to establish,
            prescribe and adopt such other policies which may be consistent with
            this constitution as required for the direction and management of the
            affairs of the APFA.


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      L.     Jurisdiction and Duties: The Board of Directors shall have the following rights,
             privileges, duties and responsibilities;

             1.  Set policy for the APFA;
             2.  Modify the APFA Policy Manual as it deems appropriate;
             3.  Approve the annual budget;
             4.  Set annual goals for the APFA as it deems appropriate;
             5.  Assign to each Ad Hoc Member of the Executive Committee those Presidents
                 with whom s/he shall maintain regular contact and communication;
             6. Determine the number of administrative, committee, and support positions as
                 may be required under Article IX of this Constitution to meet the needs of the
                 membership;
             7. Nominate and appoint members of the National Balloting Committee and
                 Budget Committee when appointments are appropriate;
             8. Review the base assignment of any OAL Operation or satellite and, when
                 necessary alter operation or satellite assignments.
                 While not limited to the following, the Board of Directors may:
             9. Review the dues structure of the Association;
             10. Override the Executive Committee rejection of a proposed Collective
                 Bargaining Agreement;
             11. Establish the Regions and the National Vice President will assign the
                 Regional Representatives;
             12. Establish, combine, delete or change the duties, responsibilities and specific
                 job descriptions of administrative, committee and support personnel in
                 accordance with the provisions of Article IX of this Constitution for budgetary
                 or policy reasons, taking into consideration the recommendations of the
                 National Officers;
             13. Direct special mailings to the membership;
             14. Recognize the accomplishments and achievements of members of the APFA;
             15. Give annual awards;
             16. Confer Honorary membership;
             17. Approve hardship dues forgiveness and review other hardship requests that
                 may be brought before the Board;
             18. Appoint special committees;
             19. Appoint or change the Article VII Arbitrator or Alternate Article VII
                 Arbitrator(s);
             20. Approve Article VII administrative changes;
             21. Suspend officers or representatives pursuany to Article VII;
             22. Take any and all appropriate action deemed necessary by the Board and in
                 accordance with this Constitution to promote the welfare of the members of
                 the APFA, and this shall include the right to reverse an action or decision of
                 the Executive Committee, National Officers or other representatives, except as
                 provided in this Article III, Section 4.J.11 or Article VIII, Section 6.Bof this
                 Constitution.

Article VII. Section 1. Grounds For Charges:



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Any member is subject to fine, suspension or expulsion, or suspension from or
removal from office, for any of the following acts:

   A. Failure to pay dues, assessments or penalties levied by the Association.

   B. Advocating, or working toward, the displacement of the APFA as
      bargaining representative (providing that advocating, or working toward an
      affiliation, merger or federation of the APFA pursuant to Article XII of this
      Constitution shall not be grounds for discipline);

   C. Willfully acting as a strike breaker during any work stoppage duly
      authorized by the Association; (1) Notwithstanding Section 1.C., above
      (which provides as a grounds for charges willfully acting as a strike breaker
      during any work stoppage duly authorized by the Association) APFA shall
      not process any charge of willfully acting as a strike breaker during the
      November 1993 strike against American Airlines.

   D. Willful violation of a Flight Attendant's Collective Bargaining Agreement

   E. Theft or embezzlement of Association monies or property

   F. Willful violation of an express Article of this Constitution, or of a proper
      and express written resolution or policy of the Board of Directors or the
      Executive Committee

   G. Willfully acting in a manner that causes the Association to violate its legal
      obligations; or

   H. Willfully bringing charges without reasonable basis against another
      member, officer, or representative of the Association, should such charges
      be dismissed for any reason by the Article VII Arbitrator designated herein,
      or should such charges not be sustained by the Article VII Arbitrator.

APFA POLICY MANUAL

Section 5.G.1. Trip Removal and Expense Policy – Other Expenses

   1. Actual out-of-pocket expenses incurred by a member in conducting APFA
      business will be reimbursed to the extent provided in this policy. In all cases,
      receipts must be submitted to verify the expense and to substantiate
      reimbursement. Expense reimbursement is not intended to be for the
      personal profit of the APFA member, but to compensate him / her for actual
      expenses and losses and is exclusive of other applicable reimbursement
      provisions in this policy.

Section 5.F.5.a. Trip Removal and Expense Policy–Meal Expense/Allowance


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   a. Representatives are authorized to pay for and to be reimbursed for the meal,
      snack or beverage of a guest(s) or other business associate(s) on those
      occasions when the representative would reasonably be considered the host
      of an authorized APFA function or meeting.

   (1) Discretion and good judgment should be used when exercising this privilege
       and when incurring such legitimate and necessary Business-Related
       Expense. Abuse, as determined by the Executive Committee, may lead to
       limitation or revocation of this privilege.

   (2) The reimbursement of a Business-Related Expense shall not count against
       a representative's MEA.

Section 5.H. Relocation

       1.     Upon assuming office/appointment, National Officer(s)/Chairs shall
              be expected and, for the purpose of this policy, shall be considered
              to reside in the DFW area. The DFW area, for purposes of this
              policy, shall not exceed a seventy-five (75) mile radius from APFA
              Headquarters.
       2.     If, on the date of his/her election, a National Officer does not reside
              in the DFW area, s/he shall be reimbursed for actual moving
              expenses for relocation from/to his/her place of permanent primary
              residence by a certified mover as a condition of employment with
              the APFA, to a maximum of ten thousand ($10,000) per round trip
              move.
                   a. The provisions of H.2 above must be exercised within six (6)
                       months following the end of the last term of office of the
                       National Officer and must be substantiated by invoice or bill.

       3.     A National Officer may choose not to relocate to the DFW area but
              may, instead, choose to accept suitable furnished accommodations
              paid for by the APFA as provided in H.7. below. If a National
              Officer accepts such accommodations in lieu of relocation expenses
              as provided in H.2. above, the following will apply:

       ….

       7.     Incoming National Officers incoming and other Representatives
              shall normally be able to use outgoing National Officers or
              Representatives furniture and furnishings rather than replace these
              items with each change of National Officer or Representative,
              subject to the right to reasonably refuse furniture and furnishings.

                                  PLAINTIFF’S ARGUMENT




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        Plaintiff argued the violations center on Defendant Ross assuming office as the APFA
National President and moving to Dallas, TX during the months of April 2016 through October
2016. Defendant Ross misused the APFA credit card on several matters during his term in office.
The APFA Policy Manual provides that National Officers will be provided up to $10,000 in
moving expenses or, provided they can demonstrate a permanent residence outside of DFW, the
officer can get a corporate apartment furnished by APFA. Defendant Ross leased an apartment at
the Bear Creek complex on June 1, 2016, thus he chose both options for relocation when he is only
to choose one option. Defendant Ross purchased $3600 of furniture from Ashley Furniture to be
delivered to his home in South Lake, Texas. Defendant Ross had a rental car for six months at a
cost of $6,200.00. He was living in the DFW area and was not entitled to a rental car. Defendant
Ross claimed mileage when he was not entitled to claim mileage. Defendant Ross and his fellow
officers changed the longstanding formula for Vacation reimbursement. Defendant Ross violated
the detailed language of the APFA expense policy by charging thousands of dollars of
unauthorized meals to his APFA credit card. The change of formula to include MEA and SAF with
an office stipend in wages when considering the reimbursement of sick and vacation time. This
was discovered when the pay for the Vice President, Secretary and Treasurer was looked at more
closely by the next administration long after the Ross Administration had left office. Defendant
Ross claimed for maintaining an office he was not entitled to. Defendant Ross received
compensation for expense payments beyond his term in office. Defendant Ross collected
compensation in two forms. (1) MEA and SAF (2) and maintaining an office outside Residence
when he was not working.

                                  DEFENDANT’S ARGUMENT

       Defendant Ross argued the alleged violations were the direct result of the “Ross Transition
Agreement.” Defendant argued that charged violation No. 5: Payout of Vacation, Charged
Violation, No. 6: Maintaining an Office, Charged Violation No. 7: Payout of Vacation Days and
Charged Violation No. 8: Buyout are a part of the Transition Agreement (TA).

        Defendant Ross argued the “Ross Transition Agreement” was deemed to be a legally
authorized by Arbitrator Valverde in the Arbitration case, Moyer vs BOD (2018) dated September
21, 2021. Arbitrator Valverde ruled the dispute that Ross received a benefit was “without merit.”
The charges in that case were dismissed. Defendant argued that it stands to reason the accusers
(Plaintiff) would have no claim that Defendant Ross received a benefit from the “Ross Transition
Agreement” that he was not entitled to and any alleged violation stemming from his acceptance of
the agreement, should be dismissed.

        Defendant Ross argued the arbitrator, designated in these Article VII proceedings, has the
jurisdiction and authority to rule on the validity of charges and the remedy sought by the Plaintiff
to the allegation. Did former National President Ross knowingly or “willfully” violate an express
Article of the APFA Constitution or Policy Manual, and did Ross “willfully” violate any express
Article of the Constitution and/or Policy Manual when he accepted the terms of the “Ross
Transition Agreement”? The arbitrator also has the jurisdiction and authority to dismiss the Article
VII Charges against the Defendant.




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       Defendant Ross argued with respect to the misuse of the APFA credit card that multiple
alleged purchases violated Policy Manual 5.G – Business Related Expenses. Defendant argued
Business Related Expenses are actually defined in Policy Manual Section 5.F.5. Section 5.G,
“Other Expenses” where it states,

       5.G Other Expenses – Actual out-of-pocket expenses incurred by a member
       conducting APFA business will be reimbursed to the extent provided in this policy.
       In all cases, receipts must be submitted to verify the expense and to substantiate
       reimbursement. Expense reimbursement is not intended to be for personal profit of
       the APFA member, but to compensate him/her for actual expenses and losses and
       is exclusive of other applicable reimbursement provisions in this policy.

        Defendant Ross argued the Plaintiff cited the wrong policy in their support of these charges,
evidence of their lack of understanding the process and policy. No purchases were made on the
APFA union credit card were submitted for reimbursement on the weekly/monthly expenses.
Receipts were submitted for each credit card charge and reviewed per policy by the appropriate
accounting and legal departments. Plaintiff admitted they did not review any other administrations
union credit card charges for similar purchases or past practice or for expenses when said officers
relocated to DFW.

         Defendant Ross argued with respect to the misuse of a Rental Car was billed to the National
President’s department during the timeframe according to the Plaintiff allegation, is coincidental
to the timeframe of the Ross relocation, but was not as a condition of the relocation. 2016 APFA
Policy Manual Section 5.H – Relocation – was silent on the use of rental cars in connection with
or during the timeframe of a relocation. This issue was previously reviewed by the APFA BOD at
the time the email was sent to the National Treasurer in March 2019. The APFA BOD and Budget
Committee members tasked with this review took no action on this matter and the issue was closed.
Defendant argued that several rental cars were rented through the President’s office for numerous
representatives during this time frame and not specifically to Bob Ross for personal use.
Department representatives having access to rental cars during this timeframe included, but is not
limited to, uniform committee members, toxic fume events and other committee representatives.
At no time did the Plaintiff cite evidence that a rental car was provided for Ross’ sole personal use.

       Defendant Ross argued with respect to mileage the following that he did not fail in his
responsibility to act in accordance with the APFA Policy Manual by citing a violation of Section
5.G. – Other Expenses / Mileage.
       5.G.1.b. (1).(a) Mileage:
       [2]. Mileage shall not be reimbursed for travel between the representatives’ residence and
       an APFA office that has been provided for the primary use of the representative for a
       period in excess of 31 days.

       Defendant Ross states that the Plaintiff have formed their own theory and alleged that
former APFA National President, Bob Ross is in violation for claiming mileage for attending
meetings with the Company or claiming mileage for any event outside of APFA headquarters
while conducting APFA business while using a rental car. At no time did Ross file for
reimbursement for mileage from his residence to the APFA headquarters. The Plaintiff did not


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present evidence that Ross claimed a mileage reimbursement while using a rental car and not his
own vehicle. Defendant Ross submits Section 5.G.b.1.a.1., is silent on a specific vehicle to be used
in the reimbursement of mileage. At any given time, an APFA Representative could be subject to
using their personal vehicle or a “Rental Car” for conducting APFA business.

        Defendant Ross argued with respect to SAF/MEA and meal expenses that he did not fail in
his responsibility to act in accordance with the APFA Policy Manual by citing a violation of
Section 5.F: Business Related Expenses. He states that the APFA had no policy on how to
differentiate or separate any amounts from the guaranteed MEA/SAF totals when National
Officers, Regional Representatives, National Chairs, or other Representatives, who are authorized
a full month trip removal pay and are receiving guaranteed stipends of MEA/SAF and are
considered a host of an authorized APFA meeting. APFA also had no policy in place until 2021,
for a National Officer in relation to one’s union credit card practice.

Special Assignment Fee (SAF) Policy:
The intent of the SAF is explained in Section 5.E.1

5.E.1.a. – The intent of the Special Assignment Fee (SAF) is to offer payment to the representatives
for the days that they conduct APFA business in excess of their normal scheduled bid line.
Amounts paid under this arrangement are reportable as wages on the representative’s W-2 and are
subject to withholding and payment of employment taxes.

5.E.4.a.(1) – If a Representative performs work for the APFA, and is not otherwise paid for that
day’s work by means of an APFA Paid Trip Removal.......such representative shall receive the
Daily SAF for work performed in accordance with the following schedule.

Calculation for the National Officers’ SAF is specifically delineated in Section 5.E.4.c – SAF
Rates – Monthly –

(c)National Officers and Regional Representatives: $400 minimum, but not to exceed $500
maximum.

Meal Expense/Meal Expense Allowance (MEA)

       Defendant Ross argued with respect to the payout of vacation that he did not fail in his
responsibility to act in accordance with the APFA Policy Manual by citing a violation of 5.E.4
Special Assignment Fee (SAF) above and 5.F.1 Meal Expense Allowance (MEA) rates.

Guaranteed MEA at Residence is explained in Section 5.F.3.a

5.F.3.a – On days a representative is both trip removed and performing work for the APFA at
his/her residence city, such representative will receive a “Guaranteed MEA at Residence” in lieu
of any actual MEA at residence as provided in F.2.




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5.F.3.d – National Officers, Regional Representatives, National Chairs and other representatives
who are authorized full month trip removal or the equivalent shall receive a “Guaranteed MEA at
Residence” of Three Hundred dollars ($300) per month.

Section 5.F.4.a – Calculation of MEA
National Officers, Regional Representatives, National Chairs and other representatives who are
authorized full month trip removal or the equivalent (e.g. “Payback as provided in D above) shall
receive a minimum MEA of Three Hundred dollars ($300) per month

Maintaining an Office Outside of Residence (MOOR)

Maintaining an Office outside of residence is required of APFA President, as the office is located
and maintained at APFA Headquarters and is paid in addition to SAF.

5.E.4.c.(3).(a) – A National Officer, Regional Representative, National Chair, Base President
and/or Base Vice-President who is required to maintain an APFA office outside of his/her place
of residence shall be paid an additional two hundred fifty dollars ($250) per month over and above
the minimum monthly SAF provided above, or the actual SAF subject to reimbursement,
whichever is greater.

5.F.1.a.(1) – Per Diem Rate (Accountable Plan)
(1) All members shall be entitled to an APFA Meal Expense Allowance (MEA) while
performing work for the APFA. Also required for the purposes of calculating how much Special
Assignment Fee (SAF) an officer receives, it is imperative that the officer fill out the required
weekly paperwork that would ascertain how many hours were worked for the APFA.

        Defendant Ross argued that all payouts and formula used to calculate the payout for
vacation, sick and end of term buyout of accrued and unused Sick and Vacation days occurred
after former APFA President Ross had left office and was the product of a Transition Agreement
and not specific to APFA Policy. Through sworn testimony, former APFA National Treasurer,
Eugenio Vargas, used full salary vs basic salary in these calculations, which include MEA and
SAF in compliance with the terms of the controlling document, the Ross TA.

        Defendant Ross argued that a National Officer or Regional Representative on a full month
trip removal shall receive per policy a $500 maximum of SAF payment. National Officers,
Regional Representatives, National Chairs and other APFA Representatives on a full month trip
removal shall receive a minimum Guaranteed MEA of $300 per month. Each National Officer, per
policy, each month received the guaranteed amount of $1050 ($500 SAF, $300 MEA and $250
MOOR) in addition to basic salary. This amount was determined by the APFA Accounting
Department. and was the combined stipend included as Salary and Benefits per the Ross TA used
by the former APFA Treasurer, after Ross left office, to calculate the daily rate of unused Sick and
Vacation Days that Ross was not allowed to use during his final 5 months as National President to
“make him whole.” These amounts were paid after Ross left office and as a condition of the Ross
TA. It is irrational for the Plaintiff to request that weekly timesheets were required to receive these
payments for the months after Ross left office.




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       Defendant Ross argued that on January 14, 2022, an APFA document surfaced that was
withheld from document retrieval that corroborates the Policy Manual was not the controlling
document to the Ross TA and therefore Ross was paid in compliance with the TA. This document
would have been exculpatory to the defense of Mr. Ross on this and other matters pertaining to the
Ross TA had it been provided.

         Defendant Ross with respect to “maintain an office outside of residence” that he did not
fail in his responsibility to act in accordance with the APFA Policy Manual by citing a violation
of Section 5.E.3 Maintaining an Office Outside of Residence. The maintaining an office outside
of residence is required of APFA President, as the office is located and maintained at APFA
Headquarters and is paid in addition to SAF.

5.E.4.c.(3).(a) – A National Officer, Regional Representative, National Chair, Base President
and/or Base Vice-President who is required to maintain an APFA office outside of his/her place
of residence shall be paid an additional two hundred fifty dollars ($250) per month over and above
the minimum monthly SAF provided above, or the actual SAF subject to reimbursement,
whichever is greater.

        Defendant Ross argued that each National Officer, per policy, each month received the
guaranteed amount of $1050. This amount included $500 for SAF, $300 for MEA and $250 for
office outside of residence. This amount was determined by the APFA Accounting Department
and provided to all National Officers as part of their salary. This charge also should be dismissed
as Ross did not pay himself the payments under the terms of the Ross TA.

        Defendant Ross argued with respect to the payout of vacation days that he did not fail in
his responsibility to act in accordance with the APFA Policy Manual by citing a violation of
Section 6.B.1: National Officer Salary and Benefits. Defendant Ross states that any change to the
formula used to calculate the payout for vacation, sick and end of term buyout occurred after
former APFA President Ross had left office. Through sworn testimony, former APFA National
Treasurer, Eugenio Vargas, used full salary vs basic salary in these calculations, in compliance
with the Ross TA.

        Defendant Ross argued the Ross Transition Agreement stated Ross would be paid any
and all accrued and unused sick and vacation from April 1, 2016 – July 31, 2018. The calculation
of the unused days was to be paid as though Ross was able to use any of those days while in
office as President for his remaining 5 months had he not resigned. There was no agreement that
these days were to be paid per Policy as the Plaintiff insists. An investigation into the payout of
the Sick and Vacation days paid, brought about by Plaintiff’s allegations that it was discovered
Ross was not properly paid “All” of his accrued and unused Sick days from April 1, 2016 – July
31, 2018. Ross earned and did not use 18 Sick days in each of the fiscal years April 2016-March
2017 and April 2017-March 2018. Ross was only paid Per Policy 6.B.3.d Offset/Loss of Sick
Time, of 12 days for each fiscal year. The additional 12 days, (6) days Apr. 2016-2017 and (6)
days Apr. 2017-2018 have still not been acknowledged or paid to Ross in accordance with the
Ross TA. The value of these lost Sick days, depending on the calculation used, is in excess of
$3400 still owed to Ross.




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        Defendant Ross argued that he received a buyout but it is cited as the Ross Transition
Agreement. The charging party submits that Ross collected more money than if he had remained
in office for the four (4) months left in his term. However, once Ross left office, he asked for and
collected from the APFA compensation in two forms he was not entitled to per the “agreement.”
One form of compensation which he received every month was MEA and SAF and Maintaining
an Office Outside Residence. Mr. Ross continued to collect one thousand and fifty dollars ($1050)
a month.”

“He collected these payments for the months of: March, April, May, June and July of 2018. This
stipend is clearly hinged on reimbursement related to work and not part of the National Officer
salary. To accept this money is in clear violation of the intent of the Policies written that allows a
representative extra compensation for working hours above and beyond their scheduled workload.
By taking this money this is another violation of the Section 5 policies outlined above.”

        Defendant Ross argued in Item no. 3 of the Ross Transition Agreement states “APFA
agrees that Ross will continue to receive from APFA his current full salary and benefits, including
full insurance coverage, through July 31, 2018. Full Salary for a National Officer, per the APFA
Policy Manual, Section 5 entitles the officer to receive guaranteed MEA, SAF, and Office Outside
of Residence payment. This guaranteed payment is $1050, which is considered gross wages and
recorded in “Box 1” of the National Officers W-2 tax form.

        Defendant Ross argued that former APFA National Treasurer Vargas has stated in sworn
testimony he used full salary vs basic salary for all calculations in compliance with the Ross
Transition Agreement. This full salary calculation would include the benefits of MEA, SAF and
any accrued and unused sick and vacation that he would have coming to him as President for those
5 months (4/1/16-7/31/18), as if he remained in office.

                                   DISCUSSION AND OPINION

        Defendant Ross assumed office on April 1, 2016 as National President of the APFA. In
that position he is entrusted with a Fiduciary duty to the APFA for cost and expenditures. This
report revealed that Defendant Ross abused his fiduciary duty to the members of the APFA. The
arbitrator has consolidated certain violations in this report.

   1. Misuse of the APFA Credit Card and
   2. SAF/MEA and Meal Expense Policy

        Plaintiff argued in these allegations that Defendant Ross moved into the South Lake home
during the week of August 11, 2016. Defendant Ross used the APFA credit card for his personal
use and was not for any Union related business activities and abused his fiduciary duty to the
APFA. He charged the renting of a moving truck on August 20, 2016 to move furniture after being
reimbursed for moving his belongings from Sacramento. He has purchased tools, sheets, blankets,
pillows, mattresses, furniture and even smaller items such as toilet paper and candy. None of the
larger items were ever inventoried or returned to the APFA upon cessation of his term of office.
Defendant Ross elected to relocate to the DFW area and was afforded a moving expense
reimbursement, he was not entitled to buy any furnishings using APFA funds. Plaintiff argued
Defendant Ross violated Section 5.G. Other Expenses of the Policy Manual. Kim Ross, wife of


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the Defendant packed up the California house in August 2016. Defendant Ross’s wife and kids
stayed in 5 different hotels as they drove across the country, including vacation stops at the Grand
Canyon and Flagstaff. They used the union credit card for these hotels, except for one hotel stay
on August 2nd that Ross expensed in his weekly report to the APFA. It also appears in the
documentation that APFA paid for all of Ross’s family meal expenses. (CLX-17, CLX-37, and
CLX-42) All of these expenses were billed to APFA as part of the cost of moving the Ross family
from California to Texas. Defendant Ross was not present for any of these hotel stays.

        The arbitrator finds that if his family was driving directly from California to Dallas, Texas,
the APFA would not have incurred additional costs for hotels, meals and mileage. It appears APFA
paid for Ross’s family vacation in the Grand Canyon with Defendant Ross’ APFA credit card. The
cost of this vacation to include meals and hotels should be borne by Defendant Ross. This is an
abuse of Ross’s fiduciary duty to the APFA membership. This is a per se violation of the Policy
Manual.

        On August 9, 2016 Defendant Ross bought tools at Home Depot on the APFA credit card.
On this same date, the APFA handyman delivers APFA furniture to the South Lake home. (CLX-
4). On August 12, 2016 the moving pods that Ross had rented arrived to the South Lake house. On
this same date, Defendant Ross charges $64.30 for gas at Shell Oil in South Lake on the union
credit card and bills it to the move but he also claimed mileage and was paid. On August 13, 2016
Defendant Ross purchased $3,637 in furniture on the APFA credit card from Ashley Furniture
(CLX-40) and had it delivered to his personal residence at the South Lake home. The furniture
was delivered to Kim Ross at the South Lake home in two installments – on August 18, 2016 and
August 25, 2016. Defendant Ross claimed the family did not move until September 2016 but the
record evidence clearly revealed they actually moved in August, 2016. A couple of bed frames and
small items were returned costing $331.28 to Ashley Furniture on August 24, 2016 (CLX-40).
John Nikides testified that Defendant Ross was ordered by APFA to repay $3600.00 to APFA for
this furniture and he did so through payroll deduction. Here, Defendant Ross abused his fiduciary
duty to the members of the APFA.

        Plaintiff argues Defendant Ross used the APFA credit card for his own personal use.
Several meals were charged on the credit card and the participants were National Officers, the
Officers and their Regional Representatives as well as himself eating alone. This violates Section
5.F. Meal Expenses/Meal Expense Allowance (MEA), 5. Business Related Expenses, a.1.2.
Plaintiff argues this violates the following:

Section 5 Business Related Expenses:
       a. Representatives are authorized to pay for and to be reimbursed for the meal,
           snack or beverage of a guest(s) or other business associate(s) on those
           occasions with a representative would reasonably be considered the host of an
           authorized APFA function or meeting.
   1. Discretion and good judgment should be used when exercising this privilege and
       when incurring such a legitimate and necessary business-related expense. Abuse,
       as determined by the executive committee, may lead to the limitation of revocation
       of this privilege.




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   2. In no case may an individual who is otherwise receiving an APFA MEA in any
      manner be considered the “guest” for the purposes of this provision.

Section 5.G of the Policy Manual provides the following:

       Actual out-of- pocket expenses incurred by a member in conducting APFA business
       will be reimbursed to the extent provided in this policy. In all cases, receipts must
       be submitted to verify the expense and to substantiate reimbursement. Expense
       reimbursement is not intended to be for the personal profit of the APFA member,
       but to compensate him /her for actual expenses and losses, and is exclusive of other
       applicable reimbursement provisions in this policy.

       Additionally, the items Defendant Ross purchased were for his personal benefit such as dry
cleaning, trips to the gas station, 7-eleven, and a monthly GOGO internet subscription.

        Plaintiff argued Defendant Ross violated the Meal Expense provisions of the APFA Policy
Manual during his term in office. Ross claimed per diem and actual meals. He used the APFA
credit card for meals at fast food restaurants by himself. As a National Officer Defendant Ross
received a guarantee MEA ($300.00 per month). The APFA Policy Manual does not permit
National Officers to charge actual meals in their city of residence. National Officers are provided
Guaranteed MEA instead of actual meal expense. There are no provisions for National Officers to
receive actual meals. Actual meals are covered in F.2 of the Policy Manual and do not include the
National Officers or other full-time representatives nor is there a working lunch exception. The
only time an APFA National Officer can purchase actual meals is the hosting exception.

        Defendant Ross argued with respect to SAF/MEA and meal expenses that he did not fail in
his responsibility to act in accordance with the APFA Policy Manual by citing a violation of
Section 5.F: Business Related Expenses. He states that the APFA had no policy on how to
differentiate or separate any amounts from the guaranteed MEA/SAF totals when National
Officers, Regional Representatives, National Chairs, or other Representatives, who are authorized
a full month trip removal pay and are receiving guaranteed stipends of MEA/SAF and are
considered a host of an authorized APFA meeting. APFA also had no policy in place until 2021,
for a National Officer in relation to one’s union credit card practice.

       Defendant Ross additionally argued the parties cited the wrong policy in support of these
charges, evidence of their lack of understanding of the process and policy. No purchases were
made on the APFA union credit card were submitted for reimbursement on the weekly/monthly
expenses. Receipts were submitted for each credit card charge and reviewed per policy by the
appropriate accounting and legal departments.

        The arbitrator finds the Plaintiff provided sufficient evidence to establish merit and a
violation of the Policy Manual to reveal Defendant Ross abused his fiduciary duty to the
membership of the APFA. Under these circumstances, the APFA will hire an Independent Auditor
to perform the task of auditing Defendant Ross purchase of meals and other items on the APFA
credit card from April 1, 2016 through July 31, 2018. Record evidence revealed that he had
purchased meals and used the APFA credit card for a personal vacation for his family at the Grand


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Canyon and other items that are not business related. The Independent Auditor will have to
determine if such meal(s) or other purchases were for conducting union business or not. Defendant
Ross as the National President was required to submit documentation to support all credit card
expenses for meals as well as other expenses. If no documentation was provided to support the
expenses were for union related business, then Defendant Ross will be required to repay APFA for
all of those expenses not substantiated. Moreover, the audit must comply with federal income tax
guidelines which distinguish between personal and nonpersonal expenses. Additionally,
Defendant Ross is hereby Ordered to repay all of the Independent Auditor’s fee to the APFA.

3. Rental Car

        Plaintiff argued Defendant Ross violated the APFA Policy Manual by having a rental car
in DFW for six months. The Policy Manual in Section 5.G.1 does not allow a National Officer to
have a rental car in base. Defendant Ross upon assuming office is considered for all expenses to
be living in Dallas. The only way a rental car would be approved is if the APFA Representative
was renting it away from their city of residence per 5.G.1.b. If it is used for personal reasons, it is
considered income. Moreover Section 8.D governs the use of APFA provided vans and cars,
“Automobiles owned or leased by the APFA are to be used primarily to conduct APFA business
during normal business hours. After hours, they may be reserved on a first-come, first served basis
for the use of representatives who reside outside of the DFW metropolitan area,” Section 8.D.1. in
Section 8.D.2 a Regional Representative whose residence is outside of DFW may get a rental car
when leased cars are not available. Cathy Lukensmeyer testified that National Officers should not
be getting a rental car in Dallas for their personal use. Defendant Ross received a rental car from
March 2016 until October 16, 2016. He booked a rental on March 28, 2016 for 24 days. On May
5, 2016, Defendant Ross upgraded the car to a luxury car. The car rentals were updated several
times into October 2016. At hearing, Defendant Ross denied having a rental car but when
confronted with rental car receipts, he then claimed it was for his department and not for him.
Several emails (June 16, 2016 extended the rental to July 29, 2016, July 18, 2018, September 30,
2016 extended to October 3, 2016) from APFA secretaries disclosed it was for Bob’s rental car
(CLX-45). Additionally, ross did not have a personal car in DFW to commute to APFA
headquarters. Here, the arbitrator finds Defendant Ross abused his Fiduciary duty to the
membership of the APFA by renting cars for his personal use to commute to work.

         Defendant Ross did not move his wife's car to Dallas until August, 2016 so Ross was using
APFA rental cars exclusively during that period. He charged APFA for the mileage, hotels, gas
and meals. Ross admitted he did not have a vehicle to get to work so he used the rental car. Plaintiff
argued that if an Employer provides an automobile to an employee, including for commuting to
and from work, that is considered a fringe benefit and is considered taxable income by the IRS.
(26 CFR § 1.61-21(a)(1) - Taxation of fringe benefits.) Under the LMRDA the governing body is
the APFA Board of Directors and they have an obligation to recover the money. (29 U.S.C. 501)
So Defendant Ross saying the Board looked into the matter in 2019 does not resolve the matter. If
it is determined Defendant Ross received over $6200 in unlawful compensation in the form of a
rental car he was not entitled to under federal labor law, the money must be paid back to the APFA.

       Defendant Ross argued with respect to the misuse of a Rental Car was billed to the National
President’s department during the timeframe according to the Charging party’s allegation, is



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coincidental to the timeframe of the Ross relocation, but was not as a condition of the relocation.
2016 APFA Policy Manual Section 5.H – Relocation – was silent on the use of rental cars in
connection with or during the timeframe of a relocation.

        The arbitrator finds the Plaintiff has supported their charge to establish merit and a
violation of the Policy Manual over the use of rental cars, thus, Defendant Ross abused his
Fiduciary duty to the membership of the APFA. the Independent Auditor will audit Defendant
Ross’ use of a rental car from April 2016 through October 2016 and determine the cost of the
rental from April 2016 through October 16, 2016. If Defendant Ross did not support the use of a
rental car with documentation for Union related business matters, Defendant Ross will be required
to repay APFA for the use of the rental cars. Whatever the amount of dollars the Independent
Auditor has determined Defendant Ross owes for using a rental car for his personal use in lieu of
a union business, he shall be Ordered to repay that amount to the APFA.

4.Mileage

       Plaintiff argued Defendant Ross claimed mileage that he was not entitled to, including the
period he had a rental car. The AFPA Policy Manual has detailed language to a National Officer
assuming office.

               Relevant Provisions
               Upon assuming office/appointment, National Officer(s) / Chair(s)
               shall be expected and, for the purposes of this policy, shall be
               considered to reside in the DFW area per 5.H.1.

               5.G.1.b. Ground Transportation
               “[1] A representative shall be reimbursed for mileage at the IRS
               standard mileage rate for travel to conduct APFA business, not to
               exceed a monthly maximum of one thousand (1000) miles. All
               mileage must be recorded on an “APFA Mileage Log” and
               submitted per Section 5.I.5. of this Policy Manual,” per Section
               5G.1.b.1.

               “ S/he is not authorized to claim any other expenses as provided in
               this policy for the purpose of personal travel between DFW and
               his/her permanent residence,” per Section H.5.c.

       The mileage logs are included in CLX-13-19 and specify that Ross drove the following
mileage:

       March 2016     336 miles
       April 2016     294 miles
       May 2016       294 miles
       June 2016      336 miles
       July 2016      294 miles




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       Plaintiff argued Defendant Ross violated the APFA Policy Manual by claiming mileage to
and from his permanent residence in Sacramento and the Sacramento airport. He claimed mileage
between his Sacramento permanent residence and the Sacramento Airport at 42 miles each way.
The APFA Policy Manual states that a National Officer may not claim expenses for his commute
home. All commuting back to your home city is on your own money. But Defendant Ross charged
mileage, parking and meals at the airport. Defendant Ross also charged APFA $105 a month for
parking his vehicle at the Sacramento Airport. This is not an authorized expense as no additional
expenses for commuting home were authorized. All of this occurred at the same time Defendant
Ross had a rental car.

        Defendant Ross states Plaintiff’s have formed their own theory and alleged that former
APFA National President, Bob Ross is in violation for claiming mileage for attending meetings
with the Company or claiming mileage for any event outside of APFA headquarters while
conducting APFA business while using a rental car. At no time did Ross file for reimbursement
for mileage from his residence to the APFA headquarters. The Charging Party did not present
evidence that Ross claimed a mileage reimbursement while using a rental car and not his own
vehicle. Defendant Ross submits Section 5.G.b.1.a.1., is silent on a specific vehicle to be used in
the reimbursement of mileage. At any given time, an APFA Representative could be subject to
using their personal vehicle or a “Rental Car” for conducting APFA business.

        The arbitrator finds the plaintiff has supported their charge to establish merit and a violation
of the Policy Manual. Thus, Defendant Ross abused his Fiduciary duty to the membership of the
APFA by claiming mileage to and from his residence and parking his personal vehicle in the
Sacramento Airport. The arbitrator requests the Independent Auditor to look at the mileage logs
or statements from April 1, 2016 through October, 2016 and determine the amount of money
Defendant Ross was paid for claiming mileage from the Sacramento airport and return. Defendant
Ross’ claimed 42 miles from the Sacramento airport to his residence and 42 miles to return to the
airport on weekends. Additionally, Defendant Ross charged $105.00 a month for parking his car
at the Sacramento airport and claimed this cost to APFA for payment. The Independent Auditor
shall investigate the claims for parking his car and determine how much he claimed and received
payment from the APFA Whatever dollar amount the Independent Auditor has determined for
mileage and parking, Defendant Ross is hereby Ordered to repay the APFA.

5.   Maintaining an Office

        Plaintiff withdrew this charge in their post-hearing brief.

6. Charges related to Ross Leaving Office as National President (Buyout)
7. Sick and Vacation Payouts
8. Receiving MEA and SAF when Performing no work.

      Defendant Ross left office on March 1, 2018 in the face of a DOL ordered rerun election.
He was elected to a four-year term but he voluntarily resigned and negotiated a Transition
Agreement to leave. The economic terms of the Transition Agreement are as follows:

     3. APFA agrees that ROSS will continue to receive from APFA his current full salary and
        benefits, including full insurance coverage, through July 31, 2018.


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   4. APFA agrees to pay ROSS all of his accrued and unused sick and accrued and unused
      vacation time, from April 1, 2016 through July 31, 2018.
   5. APFA agrees to pay ROSS, upon his request, a one-time lump sum in the total amount of
      ten thousand dollars ($10,000), which represents ROSS’s moving expenses. ROSS shall
      present the moving expenses to a APFA for payment through 2019.

        Plaintiff argued that nowhere in the exit package language does it specify that Defendant
Ross should get paid MEA and SAF expense payments for the months he is not working in March,
April, May, June and July 2016. Yet, Defendant Ross received $1050 a month in these payments
for five months for a total of $5250. MEA and SAF are considered expenses. Salary is included in
Section 6-National Officer Salary and benefits. In Section 5-Trip Removal and Expense Policy is
where SAF and MEA are located and discussed. The APFA Constitution defines salary in Section
6.A which provides, “The salary of the National President shall be equivalent to the highest purser
flight attendant pay rates, including international override pay, for a flight attendant based on 116
hours monthly.”

Section 6: National Officer Pay and Benefits
B.1: Vacation

       a.      National officers shall be entitled to thirty-five (35) days of paid vacation
               to be taken in each fiscal year while in office or the seniority respective
               vacation allowance s/he is contractually entitled to as a Flight Attendant,
               whichever is greater. This calculation will not be based on the Article 6.H
               of the Collective Bargaining Agreement referring to “trips missed.” This
               vacation allowance may be taken at the discretion of the National Officer,
               however, not more than fourteen (14) consecutive days taken at any one
               time.
       b.      National Officers should schedule their vacations so as to avoid the
               simultaneous absence of more than two (2) National Officers. In no case
               shall the National President and the National Vice President be on vacation
               simultaneously.
       c.      At the end of a fiscal year, up to fourteen (14) days of any unused APFA
               vacation allowance, as provided in B.1.a above, will be paid to the National
               Officer at a rate prorated on the National Officers’ annual salary for the
               period of APFA vacation allowance owed, less applicable state and federal
               taxes. If the National Officer is entitled to more than thirty-five days
               vacation, up to twenty-one (21) days will be paid as stated above.
       d.      At the beginning of a term, the National Officer should be paid by the
               Company for any vacation allowance accrued as a flight attendant.
       e.      At the end of the term, the APFA will ensure that the departing National
               Officer is provided with the vacation time to which s/he would ordinarily
               be entitled as if the National Officer had been an active Flight Attendant for
               the previous and current calendar years. If the company does not provide
               the out-going officer with the appropriate vacation allowance accrued for
               the previous and current calendar year the APFA will:




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               1. Provide payback of accrued vacation allowance to be taken in
                  corresponding consecutive vacation days in a block(s) that is seniority
                  respective at his/her domicile per Article 6.1 of the AA/APFA
                  Collective Bargaining Agreement, within 13 months following the end
                  of the applicable term; or
               2. The APFA will provide the departing National Officer with the
                  appropriate Flight Attendant vacation by means of cash reimbursement
                  at a rate prorated on the National Officers annual salary for the period
                  of APFA vacation allowance owed less applicable state and federal
                  taxes.

        Plaintiff argued that Defendant Ross was paid 14 days of vacation for fiscal year 2017
which ran from April 2016 and through March 2017. Ross used four vacation days and was entitled
to be paid out 14 of the remaining 31 days. Ross was paid that amount in 2017. In fiscal year 2018
Ross was entitled to be paid out an additional 14 vacation days as he used 6 days and should have
received the maximum 14 days. Ross was also entitled to his end of term vacation which provides
that he can receive vacation he would have accrued during present and previous year. For bidding
purposes as a Flight Attendant, he should have received 35 days of vacation. So, the total amount
Ross should have received in 2018 was 49 days which would have been 35 days for the end of
term and 14 days maximum payout for fiscal year 2018. This is on top of the 14 days Ross already
received for fiscal year 2018.

        Plaintiff additionally argued that Ross received 101.44 days paid out in the amount of
$38,574.68. Part of this payment includes the inflated pay which is the subject of a separate
violation. Ross was overpaid 52.44 hours of vacation.

        Defendant Ross argued the Ross TA is controlling. Defendant Ross would be paid any and
all accrued and unused sick and vacation from April 1, 2016 – July 31, 2018. The calculation of
the unused days was to be paid as though Ross was able to use any of those days while in office
as President for his remaining 5 months had he not resigned. There was no agreement that these
days were not to be paid per Policy as the Charging Party insists. An investigation into the payout
of the Sick and Vacation days paid, brought about by the Charging Party’s allegations, revealed
Ross was not properly paid all of his accrued and unused Sick days from April 1, 2016 – July 31,
2018. Ross earned and did not use 18 Sick days in each of the fiscal years April 2016-March 2017
and April 2017-March 2018. Ross was only paid Per Policy 6.B.3.d Offset/Loss of Sick Time, of
12 days for each fiscal year. The additional 12 days, (6) days Apr. 2016-2017 and (6) days Apr.
2017-2018 have still not been acknowledged or paid to Ross in accordance with the Ross TA. The
value of these lost Sick days, depending on the calculation used, is in excess of $3400 is still owed
to Ross.

       The arbitrator finds that MEA and SAF is guaranteed to the National Officers to
compensate them for not working as a Flight Attendant. The TA provides for “Full Salary”
including benefits. While one can argue that MEA and SAF is a guaranteed benefit, the Policy
Manual states it is not wages or benefits but rather are expenses as stated in Section 5 of the Policy
Manual. The TA does not mention MEA and SAF as a benefit but the purpose of providing a
guaranteed MEA and SAF to the National Officers so they would not suffer monetarily. MEA and



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SAF is a guaranteed expense to be paid monthly to the National Officers. If Defendant Ross did
not receive the MEA and SAF that he was guaranteed as a National Officer, it would then be
reasonable to assume that he would suffer monetarily. The TA states he will continue to receive
his current full salary and benefits. The language regarding benefits in Section 6 of the Policy
Manual and expenses in Section 5 of the Policy Manual is clear and unambiguous. However, if the
BOD enters into a TA with an employee to pay his full salary for an additional 5 months without
working then the TA language would be in conflict with the language over expenses (guaranteed
MEA and SAF for National Officers) in Section 5 of the Policy Manual. During these five months
of the TA that Defendant Ross was paid his full salary, no evidence was introduced that Defendant
Ross worked as a Flight Attendant while receiving guaranteed MEA and SAF. Under normal
circumstances, expenses are listed in box 1 of a W-2 but they are not considered wages or salary.
It is therefore, the Opinion of this arbitrator the intent of the TA reached between Attorney Mark
Richards, Robert Ross and the 2018 BOD was for the purpose of maintaining the “status quo ante”
for Defendant Ross. Thus, it would be reasonable to conclude Defendant Ross received MEA and
SAF for the months of March through July 2018 as a guaranteed expense benefit. However, it
should be noted that MEA and SAF are expenses and are not to be included in or considered with
his full salary for use in the payout determination of accrued sick and vacation leave. For these
reasons, the arbitrator is of the Opinion this charge over MEA and SAF should be dismissed.

       With respect to sick and vacation payout, the APFA Board of Directors has determined
that Defendant Ross was overpaid in the amount of $5,436.47 in 2018. “The Board’s finding was
based on the results of a review from an independent accounting firm which determined that the
formula used to determine the daily rate for your sick and vacation payout was incorrect.” Record
evidence revealed National Treasurer Vasquez admitted he had changed the formula without the
approval of the BOD or the EC.

         Moreover, it is the arbitrator’s understanding that Defendant Ross has refused to repay
$5,436.47 to APFA and is presently in litigation to recoup the money owed to APFA. The arbitrator
finds this is very troublesome in view of the fact that he is a standing Board member and the other
National Officers have acknowledged the computation of their debt and has either paid their debt
in full or have arranged to pay off their debt. As National President, Defendant Ross was elected
to a position of trust with the responsibility of protecting APFA assets. Ross has a Fiduciary duty
to the membership of the APFA and this arbitrator finds that he has abused this trust.

       It is therefore arbitrator’s Opinion, Defendant Ross has failed and abused his Fiduciary
Duty. The non-payment of these monies reveals Defendant Ross is not accepting this
responsibility. Thus, it is this arbitrator’s Opinion that Defendant Ross should be and is hereby
Ordered to immediately repay the APFA $5,436.47.

Leasing an Apartment at the Bear Creek Complex

        The APFA provides National Officers two choices for relocating to the Dallas metroplex.
They can either accept a corporate apartment or they can accept the relocation moving expense
entitling them up to $10,000 in moving expenses. But they are required to select their choice before
they move. Here, the record evidence revealed Defendant Ross accepted both choices. Plaintiff
argued that Defendant Ross leased an apartment at the Bear Creek Complex on June 1, 2016.



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Defendant Ross testified and denied leasing an apartment at the Bear Creek Complex but after
Plaintiff showed him documentation, Defendant Ross then admitted that he had leased the
apartment at the Bear Creek Complex for one year to be paid by APFA.

        On Defendant Ross’s weekly report, he claimed that he was house hunting on June 7 and
8, 2016. Defendant Ross explained that his children’s school in California ended in June 2016.
Kim Ross, packed household items into pods without furniture because their furniture was too
large for the South Lake home and was delivered in August 2016. Defendant Ross decided to order
furniture from Ashley furniture and ordered $3,637.00 worth of furniture on August 13, 2016 with
the APFA credit card. Defendant Ross denied that he had ordered the furniture for his residence,
that it was ordered for the corporate apartment because it had no furniture. Documentation was
presented to Defendant Ross revealing he had the furniture delivered to the South Lake residence
on August 18 and 25, 2016. Thus, Defendant Ross chose both options for his own personal benefit
and was not looking out for APFA’s benefit. He also acquired APFA furniture to be moved to his
his residence per Mike Trapp’s testimony when he was not entitled to do so. As a result of his
actions, the corporate apartment he leased for his own personal benefit at the Bear Creek Complex
cost APFA $8,106.13 which is an unnecessary expense for the APFA.

       Thus, it is the arbitrator’s Opinion, that Defendant Ross abused his Fiduciary duty to the
membership of the APFA and should be assessed the cost of leasing that apartment in the amount
of $8,106.13.

Conclusion:

        The arbitrator finds that throughout this proceeding, Defendant Ross intentionally and
willfully ignored the provisions of the APFA Policy Manual and thus, has violated and abused his
fiduciary duty entrusted to him by the APFA membership. Ross’s testimony was inconsistent and
not forthright. Because Ross abused his position of trust as well as his fiduciary duty to the
membership of the APFA, he can no longer hold a position of trust with the APFA. Moreover,
Article VII, Section 1 of the APFA Constitution provides that:
        1. Any member is subject to fine, suspension or expulsion, or suspension from or removal
            from office, for any of the following acts:
        ……
        F. Willful violation of an express Article of this Constitution, or of a proper and express
            written resolution or policy of the Board of Directors or the Executive Committee;

         Here, Defendant Ross has overwhelmingly violated the APFA Policy Manual and APFA
Constitution. Ross has refused to repay APFA for an inappropriate overpayment in the amount of
$5,436.47. The Union has been forced to put the matter in collections after Ross refused and is
now forced to commence a lawsuit against Ross. The policy manual has a procedure for APFA
representatives to follow if they disagree with the determination on any expenses which is to appeal
to the APFA Executive Board and Board of Directors per Section 5.B. Ignoring the Board of
Directors is not an option, especially for a sitting Board member. John Nikides testified that Ross’s
refusal to repay APFA as a sitting Board member undermines the Union, and the memberships
faith in its officers.




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         Plaintiff argued that Defendant Ross should be expelled from membership. It is the Opinion
of this arbitrator that Defendant Ross should be prohibited from serving in any official position
for life within the APFA organization that is set forth and included in the APFA Constitution and
Policy Manual that is covered or identified. Additionally, if Ross currently holds any official
position presently, he is to resign said position. This is to bar Ross from any official position for
life other than that of member.

                                             REMEDY

   1. The APFA will hire an Independent Forensic Auditor to audit Robert Ross’ weekly
      reports, monthly reports and APFA credit card charges from April 1, 2016 through July,
      2018 and perform the following tasks:

   Specifically:
      a. The Auditor shall inspect the receipts for the Ross family vacation taken in the
          Grand Canyon in August 2016. Ross claimed all of hotel stays, meals and
          mileage charges as relocation moving expenses when some are for a personal
          vacation. Please determine what costs should not have been claimed as
          relocation moving expenses. Ross is liable for the excess cost and is hereby
          Ordered to repay APFA for all inappropriate charges!
      b. The Auditor shall inspect Ross’ APFA credit card usage for personal and group
          meals and purchases for personal items such as tools, toiletries, bath towels, and
          candy from April 1, 2016 through July 2018 and determine the cost of all
          inappropriate charges. If no documentation was provided to support each
          purchase was a union related business cost, then Ross is liable for all
          inappropriate charges and is hereby Ordered to repay the APFA for all
          inappropriate charges!
      c. The Auditor shall inspect all of Ross’ rental car usage from April 1, 2016
          through October 16, 2016 and determine if these rentals were for union related
          business. APFA paid for the rental cars but there should be documentation to
          show if it was for union related business. If not, Ross is to be assessed the cost
          of the rental cars during the above period and is hereby Ordered to repay APFA
          for inappropriate rental car usage!
      d. The Auditor shall inspect all of Ross’ claimed mileage from the Sacramento
          Airport to his residence (42 miles) and return (42 miles) as well as all monthly
          parking of his personal car. He claimed $105.00 per month from April 1, 2016
          through July 2016 to park his car at the Sacramento airport. Ross is to be
          assessed the mileage and monthly parking he claimed and Ross is hereby
          Ordered to repay APFA for all of these inappropriate charges!

   2. Ross is hereby Ordered to immediately repay the APFA $5,436.47 per the finding of the
      APFA Board of Directors. An independent accounting firm determined the formula used
      to determine the daily rate assessed for sick and vacation payout was incorrect.
   3. Ross is hereby Ordered to repay the APFA $8,106.13 for leasing an apartment at the Bear
      Creek Complex where he had no intention of occupying.
   4. Ross is hereby fined and Ordered to repay the APFA for all of the Arbitrator’s Fee for
      this arbitration.


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  5. Ross is hereby ordered to repay the APFA the full cost of hiring the Independent Forensic
     Auditor.
  6. Ross is hereby Ordered to repay $3,637.00 to the APFA for all of the furniture he had
     purchased and delivered to his residence located in South Lake, Texas.
  7. Ross is prohibited from serving in any official position within the APFA organization
     that is set forth and included in the APFA Constitution and Policy Manual that is covered
     or identified. If Ross currently holds any official position presently, he is to resign said
     position. This is to bar Ross from any official position for life other than that of member.
  8. The APFA if it hasn’t done so, must create a separate body of trained forensic
     accountants to oversee the annual audit and to create procedures and recommendations to
     preclude fraud for the BOD’s review and action to be included within the Policy Manual.
     National Officers or Officers who have the authority to extend APFA to credit or use of
     an APFA credit card must be held economically responsible. The language created must
     be very clear and unambiguous. Training over the LMRDA must be a requirement for all
     National Officers or any person who can extend APFA to credit and whom is given an
     APFA credit card. These individuals must sign a document declaring and attesting that
     they have read and understand their responsibilities in using an APFA credit card or
     extending credit to the APFA for rental cars, apartments, etc., and that negligence will not
     be tolerated and will be dealt with severe penalties.
  9. The arbitrator shall retain jurisdiction over any issue involving this remedy only. Moreover,
     if the Independent Auditor determines any monies are due from Ross, that will be the
     amount to be assessed or due for repayment to the APFA. The APFA shall either Order
     said repayment from Ross or submit the Independent Auditors findings to have this
     arbitrator issue a Supplemental Decision and Remedy.

                                              AWARD

     The grievance is sustained in part and denied in part.

     Issued in San Antonio, Texas the 19th day of March, 2022.




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                                 THE
                 Constitution
                               OF THE

                    Association
                                   OF

                   Professional
                            Flight
                    Attendants
                      As amended by the APFA Membership
                               June 18, 2014



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                           Ratified by the
                    A P F A M em b e r sh ip o n

                               January 3, 1980


                        A m en d e d b y t h e
                    A P F A M em b e r sh i p o n

                              February 23, 1981

                                July 21, 1982

                              October 30, 1985

                                April 3, 1989

                             September 11, 1991

                              October 24, 1994

                                June 13, 1995

                               January 7, 2010




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                                     ARTICLE I
                                      GENERAL


               Section 1. NAME:
                The name of the organization shall be the Association of
                Professional Flight Attendants. Whenever the acronym
                “APFA” is used, it shall refer to and mean the Association of
                Professional Flight Attendants. Whenever the words “union”
                or “association” are used in this Constitution, they shall refer
                to and mean the Association of Professional Flight
                Attendants.

               Section 2. OBJECTIVES OF THE APFA:
                 A. To operate a non-profit employee-representing
                    association.
                 B. To protect the individual and collective rights of the
                    members of the APFA and to promote their professional
                    interest and image.
                 C. To establish and to exercise the right of collective
                    bargaining for the purpose of making and maintaining
                    employment agreements covering rates of pay, rules and
                    working conditions for the members of the APFA.
                 D. To promptly settle disputes and grievances which may
                    arise between members and their employer.
                 E. To determine and negotiate, and continue to seek to
                    improve rates of pay, rules and working conditions, and
                    to maintain uniform principles of seniority and the
                    perpetuation thereof.
                 F. To sponsor and support passage of legislation and
                    appropriate regulations which may be beneficial to the
                    Flight Attendant profession.
                 G. To sponsor and support regular training and continuing
                    education programs to enhance the professional skills of
                    officers and representatives of the APFA.
                 H. To disseminate information to enhance the professional
                    status of the membership.
                 I. To levy dues and assessments upon the membership
                    with which to provide the funds necessary to carry on the
                    business and objectives of the APFA provided however,
                    that increases in dues and the levying of assessments
                    shall be made only in accordance with this Constitution
                    and applicable Federal law.
                 J. To purchase, hold, acquire, lease, mortgage and convey
                    real estate and personal property of every kind, nature
                    and description, in any state, the District of Columbia,
                    any territory or possession of the United States and any
                    country for the convenient conduct and execution of the
EXHIBIT E      ARTICLE I   GENERAL                                          APPENDIX
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                   Association's business, including the purchasing, leasing
                   and maintaining of equipment, buildings, and
                   improvements which may be necessary, directly or
                   indirectly, in connection with any of the business and
                   objectives of the Association, with the approval of the
                   Executive Committee, subject to approval by the Board
                   of Directors.
                K. To do any and all other acts consistent with and in
                   furtherance of the objectives and purposes herein.

            Section 3. INSIGNIA:
              The official insignia of the APFA shall be:




            Section 4. OFFICE LOCATIONS:
              The location(s) of the office(s) and headquarters of the
              APFA shall be determined by the Board of Directors and
              shall only be changed by a two-thirds (2/3) majority of the
              Voting Board of Directors.

            Section 5. DURATION:
              The duration of the APFA shall be perpetual, or until it is
              dissolved as provided for in this Constitution. In the event of
              dissolution of the APFA, the National Officers of the
              Association shall act as agents for the membership and
              shall dispose of all of the physical assets of the APFA upon
              directive from the Board of Directors consistent with Federal
              and State law. All of the liquid assets shall be prorated to
              the membership on record in good standing of the APFA at
              the time of such dissolution in proportion to the monies
              being paid by such members, less any indebtedness;
              provided that any amounts that may be paid to the APFA for
              insurance or other benefits shall be dealt with separately
              and prorated only to those members who contributed to
              such funds and in proportion to their individual contributions.

            Section 6. PARLIAMENTARY LAW:
              All questions on parliamentary law and rules of order shall
              be decided according to the principles set forth in the most
              current published edition of Robert's Rules of Order,
              revised, except for those which are expressly modified by
              this Constitution.
EXHIBIT E   2                                               ARTICLE I   GENERAL   APPENDIX 70
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               Section 7. DEFINITIONS:
                  As used in this Constitution, the following words or terms
                  shall mean:
                 A. "Annual Convention" or "Special Convention" means
                     a meeting of the APFA Board of Directors wherein the
                     elected Delegates are empowered to elect and/or
                     remove Ad Hoc Members of the Executive Committee.
                 B. "Base" means one or more airports or co-terminals
                     located within a commonly recognized metropolitan area
                     to which APFA members have been assigned by their
                     employer(s) for administrative purposes and to which
                     members' flying assignments have been allocated.
                     (1) A base may include a military operation, a charter
                         operation, and/or a satellite for representational
                         purposes.
                     (2) A base may also include one or more "Other Airline
                         (OAL) Operation(s)" for representational purposes.
                         An OAL Operation shall be assigned to a base(s) by
                         action of the Executive Committee, subject to
                         approval by the Board of Directors.
                 C. "Delegate" means a Base President who has been
                     elected by secret ballot by the membership of a base, or
                     who has been duly elected by virtue of running
                     unopposed, as a representative to the Annual or Special
                     Conventions for the specific purpose of electing and/or
                     removing Ad Hoc Members of the Executive Committee;
                     or a Vice President who has been elected by secret
                     ballot by the membership of a base, or who has been
                     duly elected by virtue of running unopposed, to serve as
                     such a representative in the absence of the Base
                     President.
                 D. "Duly Designated Member" means an active member
                     in good standing of the APFA at a meeting or session of
                     the Board of Directors for the purpose of representing for
                     that meeting or session, or for part of that meeting or
                     session, one of the regular Voting Board Members.
                 E. "Duty" means an obligation of performance, care or
                     observance which rests upon a person in any position or
                     fiduciary capacity with or as a member of the APFA.
                 F. "Insignia" means the official emblem of the APFA.
                 G. "Majority of the Voting Board of Directors" means fifty
                     percent (50%) plus one (1) of the total "Voting Board of
                     Directors" as defined in Article III, Section 3,B,(2) of this
                     Constitution.
                 H. "May" or "Should" means a discretionary or permissive
                     act or directive.


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                I. "Meeting" means an assembly of APFA members or
                   officers or representatives for a common purpose. A
                   meeting may consist of one or more sessions.
                J. "Must" or "Shall" or "Will" means a word of command
                   which always has a compulsory meaning denoting
                   obligation; imperative and mandatory.
                K. "Operation" means a type of flying shared by members
                   of the APFA. This Constitution provides for and the
                   APFA Board of Directors shall recognize the following
                   types of “operations”:
                   (1) "American Airlines (AAL) Operation" means an
                        operation where APFA members are covered by a
                        Collective Bargaining Agreement negotiated by the
                        APFA on behalf of Flight Attendants employed by
                        American Airlines (AAL).
                   (2) "Other Airline (OAL) Operation" means an
                        operation wherein flying is performed by a subsidiary
                        or affiliated airline owned and/or operated by
                        American Airlines Group, and/or flying is performed
                        for or on behalf of American Airlines or American
                        Airlines Group by an independently-owned airline.
                        The Flight Attendant employees of an OAL
                        Operation may be represented by the APFA, but are
                        not covered by a Collective Bargaining Agreement
                        negotiated by the APFA on behalf of Flight
                        Attendants employed by AAL.
                L. "Petition" means a written document stating a purpose
                   and carrying the printed names, bases, employee
                   numbers and the corresponding signatures of members
                   in good standing of the APFA.
                M. "Privilege" means a benefit or advantage enjoyed by a
                   person in any position or fiduciary capacity with or as a
                   member of the APFA.
                N. "Proxy" means a written authorization from one member
                   of the Board of Directors to another, or from one member
                   of the Executive Committee to another, for the purpose
                   of exercising a vote at any meeting.
                O. "Responsibility" means an obligation to answer for a
                   duty to act or a failure to act by a person in any position
                   or fiduciary capacity with or as a member of the APFA.
                P. "Resume" means a summary of a member's
                   achievements or qualifications offered in support of such
                   member's request to be considered for appointment to a
                   position with the APFA.
                Q. "Rights" means those powers and/or privileges inherent
                   to a person in any position or fiduciary capacity with or
                   as a member of the APFA.


EXHIBIT E   4                                                ARTICLE I   GENERAL   APPENDIX 72
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                  R. "Satellite" means a location where an airport or co-
                     terminals serve a city outside of, or distanced from, any
                     commonly recognized metropolitan area that is served
                     by an APFA base as defined by this Constitution. For
                     representational purposes, a satellite shall be considered
                     part of a base as determined by the Board of Directors.
                  S. "Session" means a period of time within any one day
                     during which APFA members are assembled and
                     engaged in the transaction of the business of the APFA.
                  T. "Subject to" means that a decision is effective when
                     made and will be deemed approved unless and until
                     reversed by the designated body.
                  U. "Vacancy in the office" or "Vacancy in the position"
                     means the death, resignation, removal or incapacitation
                     of an officer or representative that renders him/her
                     unable to perform the duties of the office or the position.
                  V. "Willingness to Serve (WTS)" means written
                     notification that a member uses for self-nomination for
                     any elected position or to nominate another member for
                     any elected position.

               Section 8. REQUIREMENTS:
                 A. In order to be elected or appointed to any office or any
                    position with the APFA, any member must be an active
                    member in good standing as defined in Article II,
                    Sections 4,A and 4,B of this Constitution.
                 B. All APFA officers and representatives shall be required
                    to remain active members in good standing.
                 C. All APFA officers and representatives shall enforce this
                    Constitution and Collective Bargaining Agreement(s)
                    negotiated by the APFA.
                 D. All APFA officers and representatives shall carry out the
                    resolutions and/or policy decisions as set forth and
                    established by the Board of Directors.
                 E. All APFA officers and representatives shall be required
                    to attend and participate in training and continuing
                    education programs to improve the quality of
                    representation for the members of the APFA.




EXHIBIT E      ARTICLE I   GENERAL                                          APPENDIX
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                                  ARTICLE II
                                  MEMBERSHIP


            Section 1. ELIGIBILITY FOR MEMBERSHIP:
              A. Any person in the craft and class of Flight Attendant at
                 an airline at which the APFA is the recognized
                 Bargaining Agent for the Flight Attendant employee
                 group at that airline shall be eligible to join and maintain
                 membership in the APFA as hereinafter provided.
              B. A Flight Attendant who accepts a paid position with the
                 employer outside the craft and class of Flight Attendant
                 shall no longer be eligible for membership in the APFA. If
                 the person returns to the position of Flight Attendant, he
                 or she shall be eligible to rejoin the union, upon payment
                 of APFA’s re-initiation fee.

            Section 2. OBLIGATIONS OF MEMBERS:
              Members of the Association do accept and agree to abide
              by this Constitution of the APFA as it is in force or as it may
              be altered, added to, deleted from or amended in
              accordance with the provisions of this Constitution.
              Ignorance of this Constitution will not be considered a
              proper excuse for any violation of the provisions contained
              herein. Inherent in the rights, privileges, duties and
              responsibilities of membership in the APFA is the obligation
              to responsibly exercise these rights, privileges, duties and
              responsibilities.

            Section 3. BILL OF RIGHTS OF MEMBERS:
              A. All members of the APFA shall have the right of free
                 speech, freedom of assembly and freedom to dissent.
              B. All members of the APFA shall have access to all
                 administrative and financial reports and records except
                 as provided in Section 5.B(1) of this Article II.
              C. All members of the APFA shall have the right to
                 individual privacy.
              D. All members of the APFA shall have the right to due
                 process and equal representation.
              E. All members of the APFA shall have full equality of rights
                 and shall not be discriminated against because of
                 national origin, race, religion, creed, age, disability, sex,
                 sexual orientation or gender identity.

            Section 4.         CLASSIFICATION OF MEMBERSHIP:
                               – ACTIVE:



EXHIBIT E   6                                            ARTICLE II    MEMBERSHIP   APPENDIX 74
